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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    BENJAMIN D. GALLOWAY, #214897
     Assistant Federal Defender
3    801 “I” Street, 3rd Floor
     Sacramento, CA 95814
4
     Attorney for Defendant
5    TIANA NAPLES
6
7
                              IN THE UNITED STATES DISTRCIT COURT
8
                           FOR THE EASTERN DISTRCIT OF CALIFORNIA
9
10
     UNITED STATES OF AMERICA,                   )   NO. 2:14-CR-00022 JAM
11                                               )
                           Plaintiff,            )   STIPULATION AND ORDER
12                                               )   TO CONTINUE STATUS CONFERENCE
            v.                                   )
13                                               )
     TIANA NAPLES,                               )   DATE: April 29, 2014
14                                               )   TIME: 9:45 a.m.
                           Defendant.            )   JUDGE: Hon. John A. Mendez
15                                               )
                                                 )
16
17          The parties request that the status conference in this case be continued from Tuesday,
18   March 11, 2014, to Tuesday, April 29, 2014 at 9:45 a.m. They stipulate that the time between
19   March 11, 2014 and April 29, 2014 should be excluded from the calculation of time under the
20   Speedy Trial Act. The parties stipulate that the ends of justice are served by the Court excluding
21   such time, so that counsel for the defendant may have reasonable time necessary for effective
22   preparation, taking into account the exercise of due diligence. 18 U.S.C. §3161(h)(7)(A) and
23   (B)(iv) [reasonable time to prepare] and Local Code T-4.
24          Specifically, defense counsel needs additional time to investigate the facts of the case,
25   review discovery with client, and to negotiate a resolution to this matter. The parties stipulate
26   and agree that the interests of justice served by granting this continuance outweigh the best
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28

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1    interests of the public and the defendant in a speedy trial. 18 U.S.C. § 3161 (h)(7)(A) and (B)(iv)
2    [reasonable time for counsel to prepare] (Local Code T4).
3    Dated: March 6, 2014
                                                           Respectfully submitted,
4
                                                           HEATHER E. WILLIAMS
5                                                          Federal Defender
6                                                          /s/ Benjamin Galloway
                                                           BENJAMIN GALLOWAY
7                                                          Assistant Federal Defender
                                                           Attorney for Defendant
8                                                          EDUARDO CANELA-URIOLES
9
10   Dated: March 6, 2014                                  BENJAMIN B. WAGNER
                                                           United States Attorney
11
                                                           /s/ Matthew Morris
12                                                         MATTHEW MORRIS
                                                           Assistant United States Attorney
13                                                         Attorney for Plaintiff
14                                                ORDER
15
            UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is ordered that the
16
     status conference presently set for March 11, 2014, be continued to April 29, 2014, at 9:45 a.m.
17
     Based on the representation of counsel and good cause appearing therefrom, the Court hereby
18
     finds that the ends of justice to be served by granting a continuance outweigh the best interests of
19
     the public and the defendant in a speedy trial. It is ordered that time from March 11, 2014, to
20
     and including, April 29, 2014, the status conference shall be excluded from computation of time
21
     within which the trial of this matter must be commenced under the Speedy Trial Act pursuant to
22
     18 U.S.C. § 3161 (h)(7)(A) and (B)(iv) [reasonable time for counsel to prepare] (Local Code
23
     T4).
24
     IT IS SO ORDERED.
25
     Dated: March 6, 2014
26                                                         /s/ John A. Mendez____________
                                                           Hon. John A. Mendez
27                                                         United States District Court Judge
28

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